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                             UNITED STATES DISTRICT COURT

                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                SAN FRANCISCO DIVISION

EMMA C., et al.,                             Case No.: 3:96-cv-4179 (VC)
                              Plaintiffs,    PLAINTIFFS’ RESPONSE TO THE
                                             STATE DEFENDANTS’ JANUARY
                                             31, 2010 FURTHER PHASE 2
       v.                                    SUBMISSION, THE COURT
                                             MONITOR’S MARCH 9, 2020
TONY THURMOND, et al.,                       REPORT, AND THE STATE
                               Defendants.   DEFENDANTS’ APRIL 21, 2020
                                             RESPONSE TO MONITOR’S
                                             REVIEW OF FURTHER PHASE 2
                                             SUBMISSION

                                             Judge: Hon. Vince Chhabria
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       Pursuant to the Court’s July 5, 2019 Order re State’s Compliance at Phase 2 (“Phase 2

Order”), ECF No. 2520, the Court’s September 3, 2019 Scheduling Order, ECF No. 2531, and

the Court’s March 24, 2020 Order Granting Motion for Extension of Time, ECF No. 2561,

Plaintiffs submit this Response to the State Defendants’ January 31, 2020 Further Phase 2

Submission (the “State’s Further Phase 2 Submission”), ECF No. 2545, the Court Monitor’s

Review of the California Department of Education’s Phase 2 (Continued) Submission (the

“Court Monitor’s Report”) ECF No. 2555, and the State Defendants’ Response to Monitor’s

Review of Further Phase 2 Submission (the “State’s Response”) ECF No. 2563.

                                                  I.

                  INTRODUCTION AND PROCEDURAL BACKGROUND

   A. Procedural Background

       This Phase 2 of the evaluation of the State’s compliance with its obligations under the

Court’s May 18, 2018 Order re State’s Obligations Under Consent Decree, ECF 2387, focuses

on whether the State’s annual data analysis activities allow it to effectively fulfill its monitoring

and enforcement duties under Section 13.0 of the Consent Decree and the Individuals with

Disabilities Education Act (the “IDEA”).

       In this phase, the State bears the following burden:

       A. The State must demonstrate that it is effectively analyzing and using the data it is

           obliged to collect under Phase 1.

       B. The State must demonstrate that it is adequately using the data to select school

           districts for monitoring activities.

       C. The State must demonstrate that it is adequately and timely making annual

           compliance determinations as required by federal law.


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       D. The State must demonstrate that it is taking adequate and timely enforcement action

             in response to its annual compliance determinations. 1

ECF No. 2387 at 6.

       The State timely submitted its initial Phase 2 Submission on December 7, 2018, the Court

Monitor timely submitted his Phase 2 Report on January 28, 2019, and the State timely

submitted its Response on February 25, 2019. Following a hearing on Phase 2 compliance, the

Court issued its Phase 2 Order. ECF No. 2520. The Court found in the Phase 2 Order that the

California Department of Education’s (“CDE”) “system for flagging school districts for

intervention is riddled with serious defects.” Id. at 1. The Court further found that “the defects in

the current system are so serious, and so numerous, that they significantly interfere with [the

State’s] ability to monitor how school districts are serving disabled children.” Id. at 2. Generally

speaking, the Court found the CDE’s data analysis and selection methods deficient in the

following ways:

       1. The CDE was not sufficiently analyzing data regarding small local education

             agencies (“LEAs”), preschool-aged children, and mediations.

       2. The CDE’s selection methodology for “comprehensive review”—its most intensive

             monitoring activity—resulted in the selection of too few and the incorrect LEAs.

       3. The targets that the CDE uses to select LEAs for monitoring activities were

             insufficiently rigorous.




       1
         The Court clarified in its September 11, 2018 Order that the Phase 2 examination “will
not include an examination of the state’s further targeted monitoring and enforcement activities,
or whether those further targeted monitoring and enforcement activities are sufficient to make
adequate annual compliance determinations or to otherwise fulfill its monitoring and
enforcement obligations under the IDEA.” ECF No. 2439.
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       In response to the Court’s Phase 2 Order, the State timely submitted its Further Phase 2

Submission on January 31, 2020, ECF No. 2545, the Court Monitor timely submitted his Report

on March 9, 2020, ECF No. 2555, and the State timely submitted its Response to the Court

Monitor’s Report on April 21, 2020. ECF No. 2563.

   B. Summary of Plaintiffs’ Response

       While Plaintiffs acknowledge and commend certain significant reforms to the State’s data

analysis and monitoring selection system—such as its addition of intensive monitoring for

preschool children and an improved methodology for selecting districts for school-aged intensive

monitoring—the State’s Submission continues to fail to demonstrate compliance with the

Court’s May 18, 2018 and Phase 2 Order and Section 13 of the First Amended Consent Decree,

which requires that the “the state-level system in place is capable of ensuring continued

compliance with the law and the provision of [a free appropriate public education] to children

with disabilities in Ravenswood.” Specifically, the State’s Submission and Response fail to

demonstrate compliance with the Court’s Phase 2 Order in the following ways:

       1. The CDE’s method for selecting Districts for intervention due to an LEA’s failure to

           meaningfully participate in mediation continues to be flawed.

       2. The CDE’s method for selecting small LEAs for targeted monitoring and intensive

           monitoring is deeply flawed and will result in hundreds of poor-performing small

           LEAs being deemed to “meet requirements” and escape further monitoring activities.

       3. The CDE’s “extension targets” continue to lack rigor and there does not appear to be

           a date certain for when the CDE will propose meaningful targets for its State

           Performance Plan indicators.




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       4. The CDE’s selection method for preschool intensive monitoring, while a welcome

           addition to the CDE’s monitoring regime, will allow many poor-performing LEAs,

           particularly small LEAs, to escape further monitoring.

       5. Finally, the CDE’s selection methodology, despite proposing a much more thoughtful

           approach to selection for school-aged intensive review, still does not pick the right

           LEAs for intensive review.

        The remainder of Plaintiffs’ Response proceeds as follows. Section II considers the

CDE’s proposal for monitoring mediations. Section III discusses the fatal flaws in the CDE’s

proposal regarding monitoring of small school districts. Section IV analyzes the CDE’s targets

for its performance indicators and targeted monitoring. Sections V and VI analyze the CDE’s

selection of LEAs for intensive monitoring of preschool and school-aged children, respectively.

Finally, Section VII provides Plaintiffs’ thoughts regarding the impact of the COVID-19

pandemic on the implementation of and further proceedings pursuant to the Court’s May 18,

2018 Order re State’s Obligations Under the Consent Decree. ECF No. 2387.

       In Sections II through VI, Plaintiffs analyze each area of (non)compliance addressed by

the Monitor. In the interest of economy, Plaintiffs’ Response does not reiterate the analyses of

the Court Monitor. Rather, for each of the requirements in the Court’s Phase 2 Order for which

the Court Monitor has made a compliance determination, this Response first sets forth whether

Plaintiffs agree or disagree with the Court Monitor’s compliance determination. If the Plaintiffs

agree with the Court Monitor’s determination, the Plaintiffs may offer additional analysis

regarding the requirement. If the Plaintiffs disagree with the determination, the Plaintiffs will

describe the extent to which they disagree and the basis for that disagreement. In addition, to the




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extent that the State provided a response to the Court Monitor’s determinations, each such

response will be addressed in connection with the Monitor’s compliance determinations. 2

                                                II.

                                          MEDIATION

       Plaintiffs agree with the Court Monitor’s noncompliance determination. The Court

Monitor found CDE noncompliant because “the districts selected through CDE’s methodology

are not selected for a monitoring process.” ECF No. 2555 at 5. Though Plaintiffs agree with that

finding (and discuss it further below), Plaintiffs disagree with the Monitor’s determination that

the CDE’s methodology is “a reasonable approach to identifying districts that may not be willing

to mediate.” Id. at 4. The CDE’s methodology both provides an “escape hatch” for any district

that wants to avoid monitoring by the CDE and fails to identify districts that do not meaningfully

engage in mediation.

       The CDE proposes the use of four “proxy” filters that it contends will identify those

districts that demonstrate an unwillingness to mediate: (1) Identify LEAs that filed a request for

due process hearing only without mediation; (2) Identify LEAs involved in cases in which a due

process complaint was resolved by a due process hearing and written decision and there is no

data indicating either that mediation was held or a willingness to mediate, unless the LEA can

demonstrate that it had been willing to mediate; (3) Identify LEAs that were named in a student-

filed “mediation only” request where there is no data confirming mediation was held; and (4)

Identify LEAs that filed a request for “mediation only” with the [Office for Administrative

Hearings]. ECF No. 2545 at 13-14. If an LEA is flagged by any of Filters 1, 2, or 3, CDE states


       2
        Plaintiffs note that the Court Monitor’s Report and the State’s Response are not
organized in the same fashion, making it difficult to map the State’s specific responses onto the
Court Monitor’s findings. Plaintiffs have adopted the Court Monitor’s organizational structure.
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that it will provide targeted technical assistance to the LEA. Id. However, if an LEA is identified

as having filed a request for “mediation only” (Filter 4), the “CDE will not select that LEA for

targeted technical assistance in the area of mediation,” id. at 15, even if it has been flagged by

any of the other three filters.

        Using Filter 4 as a “mitigating factor” is highly problematic. An LEA can completely

immunize itself from mediation monitoring if each year it perfunctorily files a “mediation only”

request in just one case. This is arbitrary, overbroad, and ripe for abuse. Indeed, one can predict

that school district attorneys might counsel their clients to file such a request each year to avoid

being flagged for mediation difficulties.

        Moreover, although Filters 1-3 might identify those school districts that have a practice of

refusing to mediate, they will not identify the worst offenders, i.e., any districts that participate in

mediation, but do so only perfunctorily without any intention of settling. To capture those

districts, the CDE should replace its current fourth filter with a filter that measures the ratio of

hearing decisions in cases to failed mediations in those very same cases. The CDE could then

flag those districts that have the highest ratio of decisions to failed mediations and select the top

ten percent of the worst offenders. Such a high ratio is an indicator that a district has a practice of

attending mediations without any intent to settle. Of course, it’s possible that there are good

explanations for certain failed mediations (e.g., a parent that did not mediate in good faith or

both parties mediated in good faith, but couldn’t reach agreement). The CDE can provide

districts flagged by this indicator an opportunity to offer such explanations, just as the CDE

provides districts an opportunity to explain when they are flagged by Filter 2. Absent a good

explanation for high rates of mediation failure, the CDE should conclude that the district was not

properly using mediation as a method to resolve disputes.


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        Finally, the Monitor found the CDE out of compliance because it proposes to provide

“targeted intervention,” rather than “targeted monitoring” to those districts flagged for mediation

deficiencies. While Plaintiffs acknowledge that technical assistance and related intervention can

be (indeed, should be) part of any effective system of general supervision, the CDE does not

provide a good reason for allowing LEAs that are identified as having mediation problems to not

be identified for targeted monitoring (which could include technical assistance) and potentially

be deemed to “meet requirements.” The CDE is concerned that their proxy measures are

inappropriate for selection for monitoring activities. While Plaintiffs agree that the CDE’s first

three filters are insufficient alone, the addition of Plaintiffs’ fourth filter would strengthen the

measure to give the Court confidence that districts are appropriately selected for mediation-

related monitoring activities, a priority monitoring area under the IDEA.

        The CDE baldly asserts that providing technical assistance is the “appropriate approach

to monitoring” and the “appropriate mechanism for enforcement,” but doesn’t explain why it

shouldn’t deem a district that does not meet mediation criteria as “needing assistance.” Plaintiffs

recognize that being flagged under the four filters (particularly Filter 2 and Plaintiffs’ proposed

fourth filter) may not be due to the district’s “wrongdoing,” but that is why districts have an

opportunity to explain any failure to mediate prior to being deemed noncompliant. The CDE also

worries that those districts that have very few mediation and/or due process filings would be

unfairly selected for monitoring (the “n-size” problem). While that may indeed be a problem, the

solution is not to give a blanket pass from monitoring and a “meets requirements” to all districts.

The CDE should propose a solution that accounts for small n-sizes, while ensuring that those

districts that eschew mediation are appropriately identified and monitored.




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                                                  III.

                                 SMALL SCHOOL DISTRICTS

        Plaintiffs agree with the Monitor’s noncompliance determination.

        For many monitoring analyses and activities, the CDE’s initial Phase 2 Submission

required that school districts have a minimum number of students with disabilities before

assessing those school districts. Small school districts were excluded because a very small

number of students could have an outsized influence on a small school district’s performance and

unfairly subject the district to further scrutiny. This is the “n-size” problem, and it is a legitimate

concern. In its Phase 2 Order, the Court acknowledged that concern, but found that “[b]ecause . .

. small districts are not being assessed on many metrics, they are functionally exempt from many

targeted and intensive monitoring activities,” ECF No. 2520 at 11, and that the “state attached

the classification of ‘meets requirements’ to hundreds of small school districts despite

conducting virtually no analysis of those districts.” Id. at 1.

        To address the Court’s concerns, the CDE, in its Further Phase 2 Submission, proposes a

“grouping” methodology for all LEAs with fewer than 100 students with disabilities to allow

them to be assessed for targeted and intensive intervention. The CDE groups all such small

LEAs with other small LEAs in the county in which the LEA is located, unless the LEA is a

charter school LEA and belongs to a charter school special education local plan area (SELPA).

In that case, the charter LEA is grouped with the other small LEAs in the SELPA. The CDE then

considers those aggregated groups as a single LEA for initial selection purposes, looking at data

specific to a small LEA only if its group is selected for review.

        The difficulty with the CDE’s approach, as the Monitor discusses at length, is that, if a

small LEA group is not selected for targeted monitoring on any specific indicator or is not


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selected for intensive monitoring, then all the small LEAs within the group are given a pass,

irrespective of how poorly those individual districts may be performing. Indeed, the Monitor’s

analysis demonstrates that, using the grouping methodology, many of the lowest-performing

small districts are not selected for intensive monitoring and some districts that have performance

problems in specific areas are deemed “meets requirements” and do not receive either intensive

or targeted monitoring. ECF No. 2555 at 7 and 11. This problem is compounded by the fact that

the CDE raised its minimum size requirement from 30 students with disabilities to 100 students

with disabilities, effectively allowing many more “small” school districts and charter schools to

escape further scrutiny, the very problem that the Court identified in its Phase 2 Order. Finally,

this problem is even further compounded because the CDE uses secondary filters to select

specific small LEAs for targeted and intensive monitoring from the LEA groups that are flagged

as low performers. As discussed below, these secondary filters are problematic and result in very

few small districts being selected for monitoring activities.

       The Monitor, in turn, proposes different methodologies to deal with the n-size problem

that, for the most part, subject all LEAs, regardless of size, to the same metrics. The CDE, in

response, dismisses the Monitor’s proposed alternatives as mere “policy choice” differences that

do not render the CDE’s grouping methodology out of compliance with the IDEA.

       The CDE and the Monitor each have a point. The n-size problem needs to be addressed,

but the grouping methodology proposed by the CDE ineffectively addresses this concern by

allowing many poor-performing school districts to escape targeted and/or intensive monitoring

merely because they were lucky enough to be grouped with higher performing peers. Giving a

pass to many poor performers is not a “policy choice;” it’s a violation of the IDEA. See Court’s

Phase 2 Order at 11 (finding that where small school districts “are functionally exempt from


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many targeted and intensive monitoring activities” the State’s monitoring system is

noncompliant). There are alternative methodologies that can address both the CDE’s n-size

concern and the Monitor’s concern about allowing small districts to deny FAPE to children.

       The following subsections provide: (1) a discussion of alternative methodologies that

address both the CDE’s n-size concern and the Monitor’s concern about allowing poor-

performing small school districts to escape monitoring; (2) a specific methodology for the unique

problem posed by child find; and (3) a discussion of problems with the CDE’s small school

selection methodology for both intensive and targeted monitoring.


   A. Alternative Methodologies for Monitoring Small School Districts


       The CDE could avail itself of alternative methodologies for monitoring small school

districts that would both account for the n-size problem and ensure that poor-performing small

districts are flagged for monitoring. For instance, rather than grouping small districts, the CDE

could smooth out variability due to small n-sizes by aggregating three or more years of data for

each small school district and applying its analyses to those aggregate numbers. With such a

method, the n-size problem might be ameliorated (Plaintiffs don’t have the data to test this

approach) due to the greater “n” created by aggregating data from multiple years and no small

school district could hide behind its better performing neighbors. Even if this approach did not

prove workable for school districts with the smallest populations, at the very least, it could

reduce the number of school districts presenting this monitoring challenge.

       Alternatively, Plaintiffs offer a three-tiered methodology for monitoring small districts

that accounts for small n-sizes and ensures that all districts can be subjected to monitoring

scrutiny. The point here is not to prescribe this specific methodology or even guarantee that the

methodology would be effective and compliant (the CDE would have to test the method on its
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data). Rather, the point is to demonstrate that a workable methodology can respond to both the

Court’s concern about ensuring that small districts are monitored and the CDE’s concern about

small n-sizes. In this system, the CDE would monitor LEAs as follows:

        Large LEAs (more than 100 students with disabilities). Large LEAs could be monitored

using the same methods that the CDE currently proposes.

        Small LEAs (11-100 students with disabilities). Small LEAs of this size could be

monitored using the same method as large LEAs, except that for Level 2 monitoring (Targeted

Monitoring) the performance indicator targets should be set at a different (more lenient) level

from the target for LEAs with over 100 students with disabilities. These different targets would

account for the n-size problem for these small LEAs. They represent a compromise that keeps

small districts accountable without their compliance determination being unduly impacted by the

influence of a small number of students, a concern the CDE discussed at length in the State’s

Further Phase 2 Submission. ECF No. 2545 at 6. Alternatively, the CDE could simply select the

districts in the lowest performing decile for each indicator.

        Very Small LEAs (1-10 students with disabilities). The CDE could select for intensive

monitoring a certain percentage (e.g., ten percent) of these districts through a random selection

process. Such a system would provide an incentive for all very small LEAs to maintain

compliance, as any one of them could be selected for intensive monitoring, and would allow the

CDE to use intensive monitoring as an opportunity to gather data from and provide support to

these districts.

        No doubt there are modest drawbacks to this system, but among those drawbacks is not

the problem of giving small school districts a pass due to their small n-size. Plaintiffs look




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forward to the Parties’ and Court’s consideration of such alternatives to the CDE’s deeply flawed

“grouping” method for monitoring small school districts.


   B. Monitoring Child Find in Small School Districts


       Monitoring child find in small school districts presents a unique challenge. As the

Monitor notes, the CDE’s method that aggregates districts with fewer than 100 students with

disabilities into groups, “is problematic because it defines a small district based on the very

circumstance in question in child find monitoring: whether the district has identified all students

who have disabilities.” ECF No. 2555 at 7. As a result a district could be improperly identifying

too few children for IDEA eligibility yet escape child find scrutiny by being grouped into a small

district group with better performing districts. The Monitor offers alternative approaches—

including selecting small school districts based on overall student count (those LEAs with fewer

than 1,000 students)—that would address this challenge. ECF 2555 at 15.

       While the CDE criticizes the Monitor’s alternative approach for monitoring small school

districts for child find, the CDE fails to address the central concern that a district could be

deemed a “small school district” and grouped with higher performers to escape monitoring

precisely because it under-identifies students with disabilities, the very problem that child find

monitoring is aimed to address. To avoid this problem, Plaintiffs propose the three-tiered

monitoring system discussed above, but instead of placing students into tiers based on the

number of students with disabilities, the CDE should place students into tiers based on the

overall student count in the district. Specifically, “large school districts” could be those with

greater than 1000 students, “small school districts” could be those with between 100 and 1000

students, while “very small” school districts could be those with fewer than 100 students. The

large school districts would be monitored with the most stringent criteria because they are not
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affected by the n-size problem; the small school districts would have slightly more lenient

criteria so that they are less apt to be affected by the n-size problem; and the very small school

districts would be subjected to randomized monitoring as discussed above.

       The CDE bemoans the use of a different small school district selection methodology for

child find than that used for other forms of targeted monitoring, claiming that its methods are

repeatable, transparent and easily understood. Id. at 25. This criticism, too, is misplaced because

there is nothing non-repeatable, non-transparent, or difficult to understand about using a small

district selection method based on overall student counts and there is nothing wrong with using a

demonstrably better method just because it is different.

       The CDE finally criticizes the use of a 7.23% cutoff rate for flagging small school

districts for child find because that figure was calculated using a different population of schools

and could not be applied to the Monitor’s different population of small school districts. ECF No.

2563 at 24. But that criticism rings hollow because the CDE need only calculate the appropriate

cutoff percentage (based on 1.5 standard deviations from the mean small school district

population) for the different population of small districts proposed by the Monitor.


   C. Selection of Small School Districts for Intensive Monitoring

       1. Selection of Small School Districts for Intensive Monitoring-Preschool.

       The Monitor concludes that the CDE’s grouping methodology for small school district

monitoring is flawed because the “overwhelming majority of the lowest-performing small

districts on each of the four indicators in CDE’s [preschool intensive monitoring] formula were

not selected for intensive monitoring by the CDE.” ECF No. 2555 at 7; see also id. at 27. The

Monitor then proposes an alternative methodology that would select more of the poorest

performing small school districts for preschool intensive monitoring. Id. at 27-30. The CDE

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again criticizes the Monitor’s approach because it selects too many small school districts with

very low n-sizes (allowing one or a few students to have a disproportionate impact on

performance), ECF No. 2563 at 25-28, but the CDE again fails to address the fact that its method

allows too many low-performing small school districts to escape scrutiny. As discussed above,

there are alternative small district selection methods that could be used to address both the

Court’s concern that small districts escape monitoring and the CDE’s concern that small districts

should not be penalized for small n-sizes.

       2. Selection of Small School Districts for Intensive Monitoring-School Age.

       Out of the 1,571 small school districts, only two were selected for school-age intensive

monitoring using the CDE’s small district grouping methodology. ECF 2555 at 37. As the

Monitor concludes “[t]here are many more low-performing small districts than the two selected

by CDE.” Id. Again, the CDE should jettison its grouping methodology because it does not select

enough or the worst performing small school districts. Alternative methods can be devised that

account for small n-size and ensure small district monitoring.

   D. Selection of Small School Districts for Targeted Monitoring

       Using its small district grouping methodology, the CDE first identifies groups of small

LEAs using the same primary standards as those for larger LEAs and then applies secondary

standards (or filters) to identify specific small districts within groups. ECF No. 2553 at 7. As the

Monitor notes, the CDE does not provide an explanation or rationale for these secondary

standards and it is not clear why they were chosen. ECF No. 2555 at 8. The Monitor takes

specific notice of two secondary standards that Plaintiffs agree appear problematic:

       1.      Participation on State Assessments. The State’s secondary standard is quite far

from the primary standard and is too generous to districts with very low rates of participation on


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state assessments, resulting in too few districts being selected for targeted monitoring on this

indicator.

       2.      Parent Involvement. Again the Monitor notes that the secondary standard is quite

a bit lower than the primary standard, resulting in no small districts being selected for targeted

monitoring for parent involvement. Apart from the fact that the measure used for parent

involvement is virtually meaningless (a single question asked at an IEP team meeting), the CDE

should be required to use a more stringent secondary standard if it continues to use its flawed

small district grouping methodology.


                                                 IV.

                                            TARGETS

       In its Phase 2 Order, the Court stated that:

       Another flaw in the state’s monitoring system relates to the performance targets it
       has set for school districts. An adequate monitoring system requires adequate
       targets. If targets are too modest, states may fail to identify districts that are
       falling short on their obligation to provide an adequate education to disabled
       children.

ECF No. 2520 at 15. The Court further noted that “targets must be ‘measurable and rigorous’

across all priority areas.” Id. (citing 34 C.F.R. § 300.601(a)(3)). The Court then went on to

identify several targets as being insufficiently ambitious, resulting in too few districts being

identified for what the State now calls targeted monitoring, its second tier of monitoring review.

       In response, the State has proposed to discontinue the use of several of the indicators and

targets it previously used for performance. In this section, Plaintiffs only analyze the targets that

the State proposes to use for selecting districts for targeted monitoring.

       A. The State Performance Plan Target Development and the “Extension” Targets

       As the State describes in its Further Phase 2 Submission, ECF No. 2545 at 15-17, some

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of the indicators upon which the CDE relied for targeted monitoring are among those the federal

Office for Special Education Programs (“OSEP”) requires the State to include in its State

Performance Plan (“SPP”). The State notes that the CDE had begun a stakeholder process to

develop new, more ambitious, and more appropriate targets for all of the indicators in the SPP.

Plaintiffs’ counsel, William Koski and Freya Pitts, were invited to participate and participated in

that stakeholder process. Unfortunately, OSEP has delayed the development process for the new

SPP targets for the next six-year cycle and instead instructed the CDE to submit “extension

targets” for the current monitoring cycle.

       The CDE developed those extension targets. To put it simply, the extension targets are

essentially the same as the prior, unambitious targets that the Court found wanting. In some

instances, the targets are actually set below current performance levels. The CDE then submitted

extension targets to the stakeholder group for review. ECF No. 2545 at 16. The State says that

the “[s]takeholders were generally supportive of the proposed extension targets and did not

express any concerns with the extension targets.” Id. To be clear, Plaintiffs’ counsel do not

believe that the extension targets are in any way adequate. Plaintiffs’ counsel participated in the

stakeholder process in good faith and, like most of the stakeholders, proposed much more

ambitious targets for the upcoming six-year cycle. Moreover, as discussed at the February 19,

2020, telephonic case management conference, Plaintiffs reserve the right to challenge as

insufficient any of the SPP targets that are established for the upcoming six-year cycle and are

relevant to these proceedings.

       B. Child Find

       As the Court Monitor notes, in response to the Court’s Phase 2 Order, the CDE made two

changes to its methodology for selecting districts for child find targeted monitoring: (1) the


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cutoff for selection was raised from 2.0 standard deviations below the mean on this indicator and

(2) small school districts with fewer than 100 students with disabilities are grouped for analysis

to avoid the n-size problem. Plaintiffs have already discussed the CDE’s flawed grouping

method generally and specifically with regard to child find and will not repeat that discussion

here.

        The Monitor found that the “new child find target is adequate to select large districts for

targeted monitoring.” ECF No. 2555 at 21. Plaintiffs agree with that finding.

        C. Least Restrictive Environment (School Age)

        On this indicator, the CDE uses its extension target. As the Court Monitor notes,

“California has already met each of the FFY 2019 extension targets. California as a whole places

a lower percentage of students in regular classes, a higher percentage in self-contained classes,

and higher percentage in separate placements. The state’s targets are still set below statewide

performance and the performance of the state as a whole remains below national levels . . . .”

ECF No. 2555. The school-age least restrictive environment target is unambitious and patently

unacceptable.

        D. Least Restrictive Environment (Preschool)

        As is the case with school-age least restrictive environment, the preschool least restrictive

environment extension targets are unambitious. California also lags far behind the nation in

integrating its preschool children with disabilities into classrooms with their non-disabled peers.

The CDE should be found noncompliant on this target.

                                              V.

                         INTENSIVE MONITORING-PRESCHOOL

        Plaintiffs agree with the Monitor’s noncompliance determination.


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       As an initial matter, Plaintiffs commend the CDE for its decision to monitor districts’

provision of FAPE to preschoolers through its intensive monitoring process (rather than the

targeted monitoring process it had employed before). Moreover, although the CDE does not

include child find among its indicators used for intensive monitoring selection (as the Monitor

notes, ECF No. 2555 at 21), the three indicators the CDE uses—preschool outcomes, discipline,

and placement—all have a direct relationship to FAPE. Nonetheless, the methodology that the

CDE uses to select preschools for intensive monitoring does not ensure FAPE and fails to

comply with the IDEA in three specific ways.

       First, the Monitor notes and as discussed above, the CDE’s grouping methodology for

selecting small school districts allows too many poor-performing districts to escape intensive

monitoring because poor-performing small districts can hide behind their better performing

neighbors and because the CDE further filters out poor performers with its secondary filters.

       Second, as the Monitor notes, many school districts did not report preschool outcomes

data. See ECF No. 2555 at 23-25. While the Monitor suggests that outcomes could be excluded

from the selection methodology, the CDE believes that outcomes data must be maintained due to

their relationship to FAPE. Plaintiffs contend that outcomes data can be maintained as an

indicator if the CDE ensures that all districts report preschool outcomes. The CDE could

penalize districts for failure to report outcomes data through its data verification processes. Or it

could automatically select those who don’t report such data either for targeted monitoring on

preschool outcomes or for intensive monitoring. (One could also devise an intensive monitoring

methodology that “assumes” poor performance on preschool outcomes when no such outcomes

data are reported.)




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       Third, the CDE does not include an indicator for child find in its methodology for

selecting districts for preschool intensive monitoring. The Monitor mentions this fact, ECF No.

2555 at 21, but does not pursue the matter. The CDE notes that it is “interested in developing a

measure for Child Find for children ages 3 through 5,” but “there is no appropriate method for

doing so as there is no universal preschool, an explanation which the Court found adequate for

purposes of assessing the State’s compliance in this area.” ECF No. 2563 at 25. 3 School districts

have an obligation to locate and assess children ages 3-5 who are suspected of having a

disability. This is an essential component of preschool FAPE and should be included in the

selection process for intensive monitoring. Plaintiffs request that the Court and the Parties

discuss this issue to devise thoughtful ways to assess preschool child find and develop an

indicator that could be used for both targeted and intensive monitoring. An IDEA compliant

monitoring system requires it.

                                                VI.

                        INTENSIVE MONITORING-SCHOOL AGE

       Plaintiffs agree with the Monitor’s noncompliance determination.

       Plaintiffs again commend the CDE for its proposed methodology for selecting districts

for school-age intensive monitoring. The CDE has abandoned its deeply flawed method that

placed undue emphasis on one-year improvement or regression, employed too many variables




       3
         In footnote 16 of its Response to the Court Monitor’s Report, ECF No. 2563 at n.16, the
CDE notes that “Indicator 11—“Timely Evaluation for Special Education Eligibility,” includes
all students ages 3 through 21, and is included in CDE’s methodology for selecting LEAs for
Targeted Monitoring—Compliance.” Timeliness of assessments is a wholly inadequate measure
of performance on preschool child find. LEAs have a responsibility to actually locate all children
with disabilities. Mere timely assessments of those who have been located says nothing about
whether the LEA is doing an adequate job of locating children with disabilities in the first
instance. A better measure must be devised.
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and did not emphasize those variables most connected to FAPE, and used a cut score that was

based on administrative convenience and the CDE’s available resources, not district

performance. The CDE’s proposed methodology uses fewer variables and chooses those with a

direct relationship to FAPE, does not consider minor, one-year improvement or regression, and

employs a selection method that selects more districts and stands a better chance of selecting the

lowest performing districts. 4 Yet the CDE’s selection method still suffers from two significant

problems.

       First, as the Monitor notes and as discussed above, the CDE’s grouping methodology for

selecting small school districts allows too many poor-performing districts to escape intensive

monitoring because poor-performing small districts can hide behind their better performing

neighbors and because the CDE further filters out poor performers with its secondary filters.

       Second, the CDE initially did not include the least restrictive environment (“LRE”)

indicator for students placed in general education classes less than 40% of the day and instead

included the indicator for students placed in separate schools. The Monitor found, for several

reasons, that the CDE should include in its selection formula the indicator for placement in

general education classes for less than 40% of the day. ECF No. 2555 at 33-37. Plaintiffs

similarly contend that CDE should focus on students who are placed in general education classes

less than 40% of the day, often spending the rest of the school day in self-contained special day




       4
          As the Monitor notes, ECF No. 2555, the CDE’s school-age intensive monitoring
methodology excludes indicators that solely apply to high schools and former students such as
graduation and dropout rates, and post-school outcomes, because it wants a single system for
identifying school districts for intensive monitoring. While it is beyond the scope of this
litigation, Plaintiffs suggest that the CDE should consider separate selection methodologies for
unified school districts, elementary school districts, and high school districts. This would allow
the CDE to employ all relevant variables tied to FAPE for each type of district and provide better
apples-to-apples comparisons.
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classes, because (1) the students in those restrictive placements dramatically outnumber those in

separate schools; (2) special day classes are nearly, if not identically, as restrictive as separate

schools; and (3) the relatively few students who are placed in separate schools are often placed in

those schools by mutual agreement of the families and schools due to the significant needs of the

students. The CDE appears to agree with the Monitor’s suggestion and states that it will not use

the indicator for placement in separate schools, but will instead use the indicator for placement in

general education classrooms for less than 40% of the day. ECF No. 2555 at 6. Assuming that

the CDE maintains this position, this issue does not appear to be in dispute.

                                                 VII.

                                     IMPACT OF COVID-19

        The CDE’s Response provides a discussion of the impact of COVID-19 on its data

collection and monitoring activities. ECF No. 34-37. Plaintiffs acknowledge the significant

impact on the CDE’s operations, children with disabilities, and schools and education in

California. Indeed, many Plaintiff children are not receiving the services required by their

individualized education plans and are struggling to cope with “virtual learning.”

        The CDE specifically identifies many data collection activities that will be affected by

the current school closures but contends that, while “these data challenges do not affect the

design of CDE’s monitoring selection,” they will “likely impact the State’s implementation of its

revised selection methodology . . . .” Id. at 36. Plaintiffs are concerned that, if the CDE is unable

to implement its revamped systems, the current response to COVID-19 will affect monitoring

implementation in ways that might compromise the Court’s current review of the monitoring

design. Moreover, the delay in data collection may well have impacts on Phase 3 activities

regarding the design and implementation of monitoring activities.


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       At bottom, CDE seems to suggest that COVID-19 will diminish the CDE’s monitoring

capabilities. This is troubling because now is precisely the time that the CDE should

appropriately modify and redouble its efforts to ensure that school districts are providing FAPE

to children and complying with the IDEA. Due to school closures and the challenges of “virtual

learning,” children with disabilities throughout California are right now being denied the services

that they are entitled to receive pursuant to their IEPs. As the Court recognized in its Phase 1

Order, ECF No. 2428 at 13-18, failure to implement IEPs is a violation of the IDEA and the

CDE’s monitoring system should be capable of determining whether districts are providing

children the services delineated in their IEPs. While the CDE states that it is in the process of

developing a data collection method for IEP implementation, see ECF No. 2545, Ex. 1 at 34-35,

the current crisis demands that CDE act to ensure that districts are properly serving their children

with disabilities, particularly if school closures linger into the fall or re-occur during the next

school year. Plaintiffs request that the Court and the Parties discuss how the CDE intends to

modify and amplify its monitoring capabilities to ensure that districts provide special education

services and FAPE to their children.

                                                 VIII.

                                          CONCLUSION

       Plaintiffs acknowledge and commend the CDE for its improved approach to data analysis

and selection for monitoring activities. Yet the CDE’s analysis and selection process is still

seriously lacking in certain respects, particularly its method for assessing small school districts.

Plaintiffs look forward to addressing these matters with the Court and the Parties.

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Dated: May 15, 2020                  Respectfully submitted,

                                     YOUTH AND EDUCATION LAW PROJECT
                                     STANFORD LAW SCHOOL
                                     MILLS LEGAL CLINIC

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                                      ECF ATTESTATION



       I hereby certify that on May 15, 2020, I electronically filed the following document(s)

with the Clerk of the Court by using the CM/ECF system:


       PLAINTIFFS’ RESPONSE TO THE STATE DEFENDANTS’ JANUARY
       31, 2010 FURTHER PHASE 2 SUBMISSION, THE COURT MONITOR’S
       MARCH 9, 2020 REPORT, AND THE STATE DEFENDANTS’ APRIL 21,
       2020 RESPONSE TO MONITOR’S REVIEW OF FURTHER PHASE 2
       SUBMISSION
       I certify that all participants in the case are registered CM/ECF users and that service will

be accomplished by the CM/ECF system.

       I declare under penalty of perjury under the laws of the State of California the foregoing

is true and correct and that this declaration was executed on May 15, 2020, at Stanford,

California.

DATED:         May 15, 2020
                                                By:     /s/ William S. Koski
                                                        WILLIAM S. KOSKI




                                                   1
                        ECF ATTESTATION AND CERTIFICATE OF SERVICE
                        Emma C., et al. v. Thurmond, et al.; No. 3:96-cv-04179-VC
